         Case 2:23-cv-02687-SVW-JC                              Document 74 Filed 10/24/24                              Page 1 of 3 Page ID
AO 121 (5HY6/)                                                   #:1026
TO:

                  5HJLVWHURI&RS\ULJKWV                                                                  REPORT ON THE
                   86&RS\ULJKW2IILFH                                                          FILING OR DETERMINATION OF AN
                ,QGHSHQGHQFH$YH6(                                                               ACTION OR APPEAL
                :DVKLQJWRQ'&                                                          REGARDING A COPYRIGHT



     In compliance with the provisions of 17 U.S.C. 508, you are hereby advised that a court action or appeal has been filed
on the following copyright(s):
                                                                         COURT NAME AND LOCATION
        ✔ ACTION
        G                      G APPEAL                                   UNITED STATES DISTRICT COURT
DOCKET NO.                          DATE FILED                            CENTRAL DISTRICT OF CALIFORNIA (Western Division)
      2:23-cv-02687                           4/10/2023
PLAINTIFF                                                                             DEFENDANT
THAT ONE VIDEO ENTERTAINMENT, LLC, a California                                       KOIL CONTENT CREATION PTY LTD., an Australian
limited liability company                                                             proprietary limited company doing business as NOPIXEL;
                                                                                      MITCHELL CLOUT, an individual; and DOES 1-25,
                                                                                      inclusive
       COPYRIGHT
                                                                TITLE OF WORK                                                 AUTHOR OR WORK
    REGISTRATION NO.

1 N/A                                 Contributions to the functionality of the NoPixel Server                      THAT ONE VIDEO ENTERTAINMENT, LLC

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      In the above-entitled case, the following copyright(s) have been included:
DATE INCLUDED                       INCLUDED BY
                                             G Amendment                 G Answer                 G Cross Bill            G Other Pleading
       COPYRIGHT
                                                                TITLE OF WORK                                                 AUTHOR OF WORK
    REGISTRATION NO.

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    In the above-entitled case, a final decision was rendered on the date entered below. A copy of the order or judgment
together with the written opinion, if any, of the court is attached.
COPY ATTACHED          Order                                     WRITTEN OPINION ATTACHED                                        DATE RENDERED

            G Order            G Judgment                                      G Yes          G   No No
                                                                                                                                      10/24/2024

CLERK                                                            (BY) DEPUTY CLERK                                               DATE
        Brian Karth                                                           Phyllis Lopez                                           10/24/24

                      1) Upon initiation of action,               2) Upon filing of document adding copyright(s),        3) Upon termination of action,
                         mail copy to Register of Copyrights         mail copy to Register of Copyrights                     mail copy to Register of Copyrights
DISTRIBUTION:
                      4) In the event of an appeal, forward copy to Appellate Court                 5) Case File Copy
     Case 2:23-cv-02687-SVW-JC     Document 74 Filed 10/24/24       Page 2 of 3 Page ID
                                         #:1027



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                             UNITED STATES DISTRICT COURT
 7
                           CENTRAL DISTRICT OF CALIFORNIA
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                                         )
 9   THAT ONE VIDEO                      ) Case No. 2:23-CV-02687 SVW
     ENTERTAINMENT, LLC, a California ) (JCx)
10   limited liability company,          )
                                         ) ORDER
11                           Plaintiff,  )
                                         )
12          v.                           )
13                                       )
     KOIL CONTENT CREATION PTY           )
14   LTD., an Australian proprietary     )
     limited company doing business as   )
15   NOPIXEL; MITCHELL CLOUT, an         )
     individual; and DOES 1-25,          )
16   inclusive,                          )
                             Defendants. )
17                                       )
                                         )
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           On September 23, 2024, Defendants Koil Content Creation Pty Ltd. and Mitchell

25   Clout filed a motion for summary judgment. On October 18, 2024, the parties stipulated

26   that judgment be entered in favor of Koil Content Creation Pty. Ltd. and Mitchell Clout.
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                                                                              [Proposed] Order
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                                  #:1028
